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 1   Certified Mail®/Domestic Return Receipt (PS Form 3811) No.: 7019 2970 0000 4676 8408

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2                                                               forthe
3                                                   Western District of Texas
4                                                     AUSTIN DIVISION
 S
     MARK JOSEPH WATSON©, ens legis
     Plaintiff                                                                 CaJ iozlacQV                 055
                                                                                  FRCP Rule 9(h)' BENCH TRIAL
                                                                                                                         3P
     vs.                                                              46 U.S.C. § 30903. Waiver of immunity, Texas
                                                                                 Constitution Article 11 Municipal
     TExAs STATE UNIVERSITY                                                 Corporations, and 28 U.S.C. § 1605(a)(2)
     Defendant
 6
 7   COMPLAINT WITHIN THE ADMIRALTY ALLEGING A VIOLATION OF RESERVATION
 8    OF RIGHTS PURSUANT TO THE TEXAS BUSINESS AND COMMERCE CODE § 1-308,
 9       THE TRUTH IN LENDING ACT, REGULATION Z [12 C.F.R. § 226.23(A)(3)] AND
10        COMMON LAW COPYRIGHT NOTICE (ITEM NO. 921803-2/CLCN) SEEKING
11                      ENFORCEMENT OF A COMMERCIAL LIEN
12               [28 U.S.C. § 13332, 46 U.S.C. 30101, and 28 U.S.C. § 1338(c)4]
13
14           TO THE HONORABLE JUDGE of said court NOW COMES, MARK JOSEPH WATSON©,
15   ens legis, filing this Complaint Within the AdmiraltyAlleging a Violation of Reservation of Rights
16   Pursuant to the Texas Business and Commerce Code § 1-308, the Truth in Lending Act, Regulation Z
17   112 C.F.R. § 226.23(a) (3)1 and Common Law Copyright Notice (Item No. 921803-2/CLCN) Seeking
18   Enforcement of a Commercial Lien.
19
20         I. The Parties to this Complaint
21            A. The Plaintiff
22               MARK JOSEPH WATSON©, ens legis
23               1334 N Interstate 35 TRLR 36
24               San Marcos, Texas 78666-7120
25               (214) 659-1265
26                  mark.joseph.watsongmail.com




     1     FRCP Rule 9(h) ... Pleading Special Matters ... (h) ADMIRALTY OR MARITIME CLAIM. (1) How
           Designated. If a claim for relief is within the admiralty or maritime jurisdiction and also within the court's subject-
           matter jurisdiction on some other ground, the pleading may designate the claim as an admiralty or maritime claim for
           purposes of Rules 14(c), 38(e), and 82 and the Supplemental Rules for Admiralty or Maritime Claims and Asset
           Forfeiture Actions. A claim cognizable only in the admiralty or maritime jurisdiction is an admiralty or maritime
           claim for those purposes, whether or not so designated.
     2     28 U.S.C. § 1333 Admiralty, maritime, and prize cases.
     3     46 U.S.C. § 30101 Admiralty Extension Act.
     4     28 U.S.C. § 1338(c) Patents, plant variety protection, copyrights, mask works, designs, trademarks, and unfair
           competition

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27           B. The Defendant
28              TExAs STATE UNIVERSITY
29              Dr. Denise M. Trauth
30              Office of the President
31               J.C. Kellam Building, 10th Floor
32               601 University Drive
33               San Marcos, Texas 78666-4684
34               Phone: (512) 245.2121
35               Email: presidenttxstate.edu
36       II. Basis for Jurisdiction
37           U.S. DISTRIcT COURT for the Western District of Texas, Austin Division (a.k.a. the court), is a
38           court of limited jurisdiction. Under 28 U.S.C. § 1333, 28 U.S.C. § 1338(c), and 28 U.S.C. §
39           1605(a)(2) the court may hear complaints within the admiralty seeking enforcement of a
40           commercial lien. Under 46 U.S.C. § 30903 [Suits in Admiralty Act (SIAA)] is a specific
41           waiver of the sovereign immunity defense for TEXAS STATE UNIVERSITY for value
42           established by affidavit within the admiralty [Admiralty Extensions Act (AEA)... 46 USC §
43           30101].
44           A. The Plaintiff to this Complaint
45              1. The Plaintiff is a COPYRIGHTED corporate fiction, ens legis (a.k.a. strawman).
46                2. The Plaintiff, MARK JOSEPH WATSON©, ens legis, is a transmission utility under
47                    the Uniform Commercial Code6 (UCC) as adopted by the Texas Business and
48                    Commerce Code (BCC) and is the property of Mark-Joseph: Watson, Secured Party
49                    and resident of the state of Texas.
50            B. The Defendant to this Complaint
51                1. The Defendant is a municipal corporation.
52                2. The Defendant, TEXAS STATE UNIVERSITY, is incorporated under the laws of the
53                    STATE OF TEXAS, and has its principal place of business in the STATE OF TEXAS.
54            C. The amount in controversy
55                The amount in controversy is TWO MILLION FIVE HUNDRED THIRTY ONE
56                THOUSAND THREE HUNDRED FIFTY DOLLARS AND ZERO CENTS,
57                $2,531,350.00, which includes costs of the court, and reasonable attorney's fees.
58       III. Statement of the Claim
59            In the UNITED STATES there are three types of jurisdiction: Equity (or Civil), Criminal
60            (Common Law), and Admiralty (which can be both Civil and Criminal but requires a verbal
61            or written contract). To be charged with a Common Law crime there has to be both an
62            "injured party" and criminal intent. A government is a legal fiction and has no rights and
63            cannot be an "injured party". Only human beings have rights. Individuals can testify against
64            an accused person but a legal fiction cannot.
65
66                    "The individual may stand upon his constitutional rights as a citizen. He is
67                    entitled to carry on his private business in his own way. His power to
68                    is unlimited. He owes no such duty [to submit his books and papers f
69                    an examination] to the State, since he receives nothing therefrom,
70                    beyond the protection of his life and property. His rights are such as

     5   46 U.S.C. § 30101 Extension of jurisdiction to cases of damage or injury on land.
     6   International maritime contract law.

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 71                 existed by the law of the land [Common Law] long antecedent to the
 72                 organization of the State, and can only be taken from him by due process of
 73                 law, and in accordance with the Constitution. Among his rights are a refusal to
 74                 incriminate himself, and the immunity of himself and his property from arrest
 75                 or seizure except under a warrant of the law. He owes nothing to the public so
 76                 long as he does not trespass upon their rights." Hale v. Henkel, 201 U.S. 43 at
 77                 47 (1905).
 78
 79                 "There are no common law offenses against the United States. Only those acts
 80                 which Congress has forbidden, with penalties for disobedience of its
 81                 command, are crimes." United States v. Hudson & Goodwin, 11 U.S. (7 th Cr.)
 82                 32 (1812); United States v. Coolidge, 14 U.S. (1 Wheat.) 415 (1816); United
 83                 States v. Britton, 108 U.S. 199, 206 (1883); United States v. Eaton, 144 U.S.
 84                 677, 687 (1892).
 85
 86                 "Actions to recover penalties imposed by act of Congress generally but not
 87                 invariably have been held not to be criminal prosecutions." Oceanic
 88                 Navigation Co. v. Stranaham, 214 U.S. 320 (1909); Hepner v. United States,
 89                 213 U.S. 103 (1909); United States v. Regan, 232 U.S. 37 (1914).
 90
 91                 Contempt proceedings, which were at one time not considered to be criminal
 92                 prosecutions, are no longer within that category. Compare In re Debs, 158
 93                 U.S. 564 (1895), with Bloom v. Illinois, 391 U.S. 194 (1968).
 94
 95          Please refer to Exhibit A Incident Report 20006117 it indicates that the victim of the
 96          alleged crime of criminal trespass during (the time on the report was 8:51PM) park hours
 97          (San Marcos, Texas park hours are from 6:00AM to 11:00PM) was the STATE OF TExAs
 98          (Article 11 of the Texas Constitution recognizes the STATE OF TEXAS as a corporation and the
 99          counties and cities as municipal corporations). In the report it indicates that I was WARNED
100          NOT to be on public property after hours yet I was not handed any such citation. There were
101          no violations of the rules of the use of public property. Therefore, no criminal trespass. I
102          informed them that I was watching wildlife (deer) while working on my computer (during
103          park hours). They obviously there for harassment purposes only. There is a Trump/Pense
104          bumper sticker on the back of my truck.
105
106         Absent an injured party there was no common law crime and in ex parte Milligan, 71 U.S. (4
107         Wall.) 2 (1866) the Supreme Court ruled the application of military tribunals to citizens
108         when civilian courts are still operating is unconstitutional. What both Officer James Dixon
109         and Officer Travis Talbot were doing was attempting to negotiate a maritime contract on
110         behalf of the STATE OF TEXAS and with MARK JOSEPH WATSON©, ens legis (a
111         transmission utility created with my birth certificate prusuant to the Uniform Commercial
112         Code). A detailed explanation of this can be found in Proof That There is a
113          "Straw Man" (https://sedm.org/Forms/05-MemLaw/StrawMan.pdf) and The
114         Secret Maritime Jurisdiction of the United States Exposed (http://usa-the-
115         republic.com/items%200f%20interest/Special%20Maritime%2OExposed.pdf).
116         Both books are free to download.


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117
118         In order to thwart any further harassment I e-mailed Officer James Dixon the next morning.
119         Please refer to Exhibit B e-Mail to Officer James Dixon. As evident by the e-mail, the
120         maritime contract negotiated by both Officer James Dixon and Officer Travis Talbot was
121         rescinded pursuant to the Texas Business and Commerce Code sec. 1-308 [same as the
122         Uniform Commercial Code (UCC)] and the Truth in Lending Act, Regulation Z [12 C.F.R. §
123         226.23(a)(3)]. Absent a contract the STATE OF TExAs lack jurisdiction to compel
124         performance.
125
126                 When a judge knows that he lacks jurisdiction, or acts in the face of clearly
127                 valid statutes expressly depriving him of jurisdiction, judicial immunity is
128                 lost. Rankin v. Howard, (1980) 633 F.2d 844, cert. Den. Zeller v. Rankin, 101
129                 S.Ct. 2020, 451 U.S. 939, 68 L.Ed 2d 326.
130
131                 A judge must be acting within his jurisdiction as to subject matter and person,
132                 to be entitled to immunity from civil action for his acts. Davis v. Burns, 51
133                 Ariz. 220, 75 P.2d 689 (1938).
134
135                 When a judicial officer acts entirely without jurisdiction or without
136                 compliance with jurisdiction requisites he may be held civilly liable for abuse
137                 of process even though his act involved a decision made in good faith, that he
138                 had jurisdiction. Little v. U.S. Fidelity & Guaranty Co., 217 Miss. 576, 64 So.
139                 2D697.
140
141                 "No judicial process, whatever form it may assume, can have any lawful
142                 authority outside of the limits of the jurisdiction of the court or judge by
143                 whom it is issued; and an attempt to enforce it beyond these boundaries is
144                 nothing less than lawless violence." Ableman v. Booth, 21 Howard 506 (1859).
145
146                 "We (judges) have no more right to decline the exercise of jurisdiction which
147                 is given, than to usurp that which is not given. The one or the other would be
148                 treason to the Constitution." Cohen v. Virginia, (1821), 6 Wheat. 264 and U.S.
149                 v. Will, 499 U.S. 200.
150
151          I was approached by Officer Travis Talbot on Friday, March 27, 2020 at 8:37AM. He
152          immediately started threatening quasi in rem arrest for failure to perform under the maritime
153          contract. I informed him that it wasn't after hours. He started getting violent and
154          threatening quasi in rem arrest if I didn't leave immediately. I was in the park sitting in my
155          truck in a parking space under an oak tree writing a brief. I had a deadline on my brief so I
156          complied with his unlawful demand. As I was leaving I remembered I didn't get his business
157          card so I had a record of whom was in VIOLATION of Common Law Copyright Notice (Item
158          No. 921803-2/CLCN) and Affidavit of Reservation of Rights UCC 1-308.
159                                                                                              /IlI.t._
160          I pulled over to the side a waived for him to come over. He immediately started     '.
161          getting violent and threatening quasi in rem arrest. He started yelling at me not
162          to argue with him and I said I wasn't. I was asking him for a business card.
                                                                                                  USA
                                                                                                            aj

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163          Ultimately another officer and I got a business card. I filed an open records request the
164          following Monday. Officer Talbot's actions were not only offensive they were a criminal
165          infringement of a copyright (18 U.S.C. § 2319) and felony civil rights crimes [18 U.S.C. §
166          241 and 18 U.S.C. § 242 under the color of Texas Business and Commerce Code sec. 1-308
167          and 12 C.F.R. § 226.23(a)(3)] along with several State crimes (false police report, unlawful
168          detention, and harassment). Exhibit C is the Incident Report for the exchange involving
169          Officer Talbot.
170
171          Both Officer Talbot and Officer Dixon had copies of Common Law Copyright Notice (Item
172          No. 921803-2/CLCN) and Affidavit of Reservation of Rights UCC 1-308. By leaving a falsely
173          filed Criminal Trespass Warning in affect and threatening quasi in rem arrest there were two
174          violations of the copyright notice and reservation of rights. The copyright notice multiples
175          the reservation of rights violation by three. The copyright notice is a self-executing contract
176          with power of sale and right of non-judicial foreclosure.
177      IV. Relief
178          Iask that the Court order the clerk to issue the proposed Writ ofAttachment enter judgment
179         against the Defendant for $2,531,350.00 which includes costs of the court and reasonable
180         attorney's fees.
181      V. Certification and Closing
182            Although not required by Federal Rules of Civil Procedure - Rule 11, this complaint
183         contains an affidavit requiring a point by point rebuttal for the complaint not to stand as
184         judgment under common law. Under Rule 11, by signing this Complaint Within the
185         Admiralty Alleging a Violation of Reservation of Rights Pursuant to the Texas Business and
186         Commerce Code § 1-308, the Truth in Lending Act, Regulation Z 112 C.F.R. § 226.23(a) (3)]
187         and Common Law Copyright Notice (Item No. 921803-2/CLCN) Seeking Enforcement of a
188         Commercial Lien, I certify to the best of my knowledge, information, and belief this
189         complaint: (1) is not being presented for an improper purpose, such as to harass, cause
190         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing
191         law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3)
192         the factual contentions have evidentiary support or, if specifically so identified, will likely
193         have evidentiary support after a reasonable opportunity for further investigation or discovery;
194         and (4) the complaint otherwise complies with the requirements of Rule 11.
195
196          I also certify under penalty of perjury (28 U.S.C. § 1746) that the foregoing complaint bares
197          witness to the TRUTH and is supported with evidence and unrebutted testimony (affidavits).
198          I also certify that, out of respect for Congress, the court, and the people it serves, I do not
199          misrepresent the court's jurisdictional authority to enforce the commercial lien.
200
201                        Without Prejudice UCC 1-308,



205                        Mark-Joseph: Watson, Secure Party/Creditor, Authorized
206                        Representative, Morney-In-Fact, on behalf of
207                        MARK JOSEPH WATSON.b, ens legis
208                        Texas UCCI Pile No. 19-0003750520


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